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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 BEAUMONT DIVISION

 UNITED STATES OF AMERICA                        §
                                                 §
 VS.                                             §   CASE NO. 1:14-CR-79(6)
                                                 §
 DANIEL EZEKIEL BENJAMIN                         §

          FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
               BEFORE THE UNITED STATES MAGISTRATE JUDGE

        By order of the District Court, this matter was referred to the undersigned United States

 Magistrate Judge for administration of a guilty plea and allocution under Rules 11 and 32 of the

 Federal Rules of Criminal Procedure. Magistrate judges have the statutory authority to conduct a

 felony guilty plea proceeding as an “additional duty” pursuant to 28 U.S.C. § 636(b)(3). United

 States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002), cert. denied, 123 S. Ct. 1642 (2003).

        On January 7, 2016, this cause came before the undersigned United States Magistrate

 Judge for entry of a guilty plea by the defendant, Daniel Ezekiel Benjamin, on Count Six of the

 charging First Superseding Indictment filed in this cause. Count Six charges that on or about

 December 31, 2013, in the Eastern District of Texas, Daniel Ezekiel Benjamin and two co-




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 defendants, knowingly possessed one or more stolen firearms1 which had been shipped and

 transported in interstate or foreign commerce, knowing and having reasonable cause to believe

 the firearm was stolen, in violation of 18 U.S.C. § 922(j).

          Defendant, Daniel Ezekiel Benjamin, entered a plea of guilty to Count Six of the First

 Superseding Indictment into the record at the hearing.

          After conducting the proceeding in the form and manner prescribed by Federal Rule of

 Criminal Procedure 11 the Court finds:

          a.       That Defendant, after consultation with counsel of record, has knowingly, freely

 and voluntarily consented to the administration of the guilty plea in this cause by a United States

 Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

 sentence by the District Court.

          b.       That Defendant and the Government have entered into a plea agreement and a

 plea agreement addendum which were disclosed and addressed in open court, entered into the

 record, and placed under seal.

          c.       That Defendant is fully competent and capable of entering an informed plea, that

 Defendant is aware of the nature of the charges and the consequences of the plea, and that the

 plea of guilty is a knowing, voluntary and freely made plea. Upon addressing the Defendant

 personally in open court, the Court determines that Defendant’s plea is voluntary and did not

 result from force, threats or promises. See FED. R. CRIM. P. 11(b)(2).

          d.       That Defendant’s knowing, voluntary and freely made plea is supported by an

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           Count Six of the First Superseding Indictment specifically names a large number of allegedly stolen firearms,
 including their make, model and serial numbers. The Court incorporates those specific allegations herein.

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 independent factual basis establishing each of the essential elements of the offense and Defendant

 realizes that his conduct falls within the definition of the crime charged under 18 U.S.C. § 922(j).

                                    STATEMENT OF REASONS

         As factual support for Defendant’s guilty plea, the Government presented a factual basis.

 See Factual Basis and Stipulation. In support, the Government and Defendant stipulated that if

 this case were to proceed to trial the Government would prove beyond a reasonable doubt,

 through the sworn testimony of witnesses, including expert witnesses, and through admissible

 exhibits, each and every essential element of the crime charged in Count Six of the First

 Superseding Indictment. The parties further stipulated that the Government would also prove that

 the defendant is one and the same person charged in Count Six of the First Superseding

 Indictment and that the events described in the First Superseding Indictment occurred in the

 Eastern District of Texas. At the guilty plea hearing, the parties also stipulated on the record that

 the firearms addressed in the Factual Basis and Stipulation include some of those specific

 firearms named in Count Six of the First Superseding Indictment.

         The Court incorporates the proffer of evidence described in detail in the factual basis and

 in the record at the guilty plea in support of the guilty plea.

         Defendant, Daniel Ezekiel Benjamin, agreed with and stipulated to the evidence presented

 in the factual basis.     Counsel for Defendant and the Government attested to Defendant’s

 competency and capability to enter an informed plea of guilty. The Defendant agreed with the

 evidence presented by the Government and personally testified that he was entering his guilty

 plea knowingly, freely and voluntarily.



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                               RECOMMENDED DISPOSITION

           IT IS THEREFORE the recommendation of the undersigned United States Magistrate

 Judge that the District Court accept the Guilty Plea of Defendant which the undersigned

 determines to be supported by an independent factual basis establishing each of the essential

 elements of the offense charged in Count Six of the charging First Superseding Indictment on

 file in this criminal proceeding. The Court also recommends that the District Court accept the

 plea agreement and the plea agreement addendum pursuant to Federal Rule of Criminal Procedure

 11(c). Accordingly, it is further recommended that Defendant, Daniel Ezekiel Benjamin, be

 finally adjudged as guilty of the charged offense under Title 18, United States Code, Section

 922(j).

           Defendant is ordered to report to the United States Probation Department for the

 preparation of a presentence report. At the plea hearing, the Court admonished the Defendant that

 the District Court may reject the plea and that the District Court can decline to sentence

 Defendant in accordance with the plea agreement, the federal sentencing guidelines and/or the

 presentence report because the sentencing guidelines are advisory in nature. The District Court

 may defer its decision to accept or reject the plea agreement and addendum until there has been

 an opportunity to consider the presentence report. See FED. R. CRIM. P. 11(c)(3). If the Court

 rejects the plea agreement, the Court will advise Defendant in open court that it is not bound by

 the plea agreement and Defendant may have the opportunity to withdraw the guilty plea,

 dependent upon the type of the plea agreement. See FED. R. CRIM. P. 11(c)(3)(B). If the plea

 agreement is rejected and Defendant still persists in the guilty plea, the disposition of the case



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 may be less favorable to Defendant than that contemplated by the plea agreement and addendum.

 Defendant has the right to allocute before the District Court before imposition of sentence.

                                          OBJECTIONS

        Objections must be: (1) specific, (2) in writing, and (3) served and filed within fourteen

 (14) days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1).

        A party’s failure to object bars that party from: (1) entitlement to de novo review by a

 district judge of proposed findings and recommendations, see Rodriguez v. Bowen, 857 F.2d 275,

 276-77 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error of unobjected-to
  .
 factual findings and legal conclusions accepted by the district court, see Douglass v. United Servs.

 Auto. Ass’n., 79 F.3d 1415, 1417 (5th Cir. 1996) (en banc). The constitutional safeguards afforded

 by Congress and the courts require that, when a party takes advantage of his right to object to a

 magistrate’s findings or recommendation, a district judge must exercise its nondelegable authority

 by considering the actual evidence and not merely by reviewing and blindly adopting the

 magistrate’s report and recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620 (5th Cir.

 1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981) (per curiam).



                    SIGNED this the 11st day of January, 2016.




                                                       ____________________________________
                                                       KEITH F. GIBLIN
                                                       UNITED STATES MAGISTRATE JUDGE



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